If we would come to a correct conclusion in this case, we must settle, in the outset, the fundamental principles upon which it rests. The criterion given in most of the cases by which to determine whether a declaration or confession of a person charged with a crime is competent evidence against him upon his trial, is, to ascertain whether it was voluntarily made. If voluntary, it is said to be competent; otherwise, not. Now it is obvious that this is not a strictly accurate test, notwithstanding the universality of its use for the purpose. A confession or statement, made upon the heel of promises of favor, may be perfectly voluntary, yet it is rejected. So a statement made under oath before a coroner's jury, while the party is under arrest upon suspicion of guilt, is equally voluntary as if made as a witness in a case with which he has no connection. He has the same protection in either case if he chooses to avail himself of it; yet the statement in one case is admissible, in the other not; and in the former case, if, after being expressly cautioned and informed of his immunity, he is not only willing but anxious to give his testimony, it cannot afterwards be used against him. If by voluntary is meant, uninfluenced by the disturbing fear of punishment, or by flattering hopes of favor, the expression may be accurate. But it is liable to mislead, because it suggests the idea that the rejection of what are termed involuntary confessions flows from that principle of the *Page 33 
common law which is supposed mercifully to exempt persons from all obligations to criminate themselves, and which is expressed by the maxim, nemo tenetur prodere seipsum. Were it essential to the conclusion in this case, it might, I think, be shown that we are indebted for this maxim to the justice, and not to the mercy of the law; and that the principle embodied in it has its foundation in the uncertain and dangerous nature of all evidence of guilt drawn from the statement of a party conscious of being suspected of crime. But, however this may be, it is certain that the statements of an accused person, made under oath, are never excluded on account of any supposed violation of the immunity of the party from self-crimination. The object of the law is to ascertain truth; and it rejects no evidence, come from what source it may, which is calculated to throw light upon it. The mental disturbance produced by a direct accusation, or even a consciousness of being suspected of crime, is always great, and, in many cases, incalculable. The foundation of all reliance upon human testimony is that moral sentiment which almost universally leads men, when not under some strong counteracting influence, to tell the truth. This sentiment is sufficiently powerful to resist a trifling motive, but will not withstand the fear of conviction for crime. Hence, the moment that fear seizes the mind, the basis of all reliance upon its manifestations is gone. Speculation as to the effect of the declarations made, takes the place of a regard for truth; and this, too, in many cases, whether the party be innocent or guilty. If innocent, and yet conscious of the existence of circumstances tending to show guilt, there is the strongest temptation to make such statements, without regard to their truth, as will serve to conceal or break the force of these circumstances. Innocent persons have not unfrequently been convicted upon false statements of precisely this character. The mind, confused and agitated by the apprehension of danger, cannot reason with coolness; and it resorts to falsehood *Page 34 
when the truth would be safer, and is hurried into acknowledgments which the facts do not warrant. Neither false statements nor confessions, therefore, afford any certain evidence of guilt when made under the excitement of an impending prosecution for crime. So obvious and so undeniable are these principles, that it is rather to be wondered at that the law has placed the reliance it has upon the declarations of persons accused, than that it has guarded their introduction with so much care. Few, who reflect upon the matter, would hesitate, I think, to concur in the sentiment expressed by Baron HOTHAM, inThompson's case, that "too great a chastity cannot be preserved on this subject." (1 Leach's C.C., 291.) There is a passage in Hawkins that is so pertinent to, and goes so fully to sustain the view here presented, that I transcribe it, viz: "The human mind, under the pressure of calamity, is easily seduced, and is liable, in the alarm of danger, to acknowledge, indiscriminately, a falsehood or a truth, as different agitations may prevail. A confession, therefore, whether made upon an official examination or in discourse with private persons, which is obtained from a defendant, either by the flattery of hope or by the impression of fear, however slightly the emotions may be implanted, is not admissible in evidence, for the law will not suffer a prisoner to be made the deluded instrument of his own conviction."
It is said by Joy, in his work on the admissibility of confessions, that this passage has been introduced into some of the later editions of Hawkins, and is no part of the original text. (Joy on Confessions, 31.) But however this may be, it does not require the authority of Hawkins, or any other great name, to commend the sentiment of this paragraph to any thinking mind. Mr. Justice LITTLEDALE, too, in a modern English case, expresses briefly the same idea. He says: "The object of the rule relating to the exclusion of confessions is, to exclude all confessions which may have been procured by the prisoner being led to suppose that it *Page 35 
would be better for him to admit himself to be guilty of an offence which he really never committed." (7 Carr.  Payne,
486.) Nothing can be clearer, indeed, than that the rule of exclusion rests, not upon the compulsory manner of obtaining the confession, but upon the dangerous and unreliable nature of the evidence; and it is truly surprising that, among the numerous modern cases on the subject, there should be so rare a recurrence to the original foundation of the rule, the judges in almost every instance contenting themselves with allowing the admission or exclusion of the evidence to turn upon the word voluntary. That I have given the true basis of the rule is apparent, not only from the reasoning here adopted, and the authorities already referred to, but is obviously to be deduced from the mass of decisions on the subject, although not expressly asserted in them. In no other mode can they be reconciled with each other; but viewed in the light of the principles here contended for, they are rendered, for the most part, harmonious and consistent. Most of the rules applicable to the reception, upon the trial of persons for crime, of their declarations made while under oath, are incontrovertibly settled. For instance, it is settled that a declaration or confession made under oath, while the person making it is a prisoner charged with crime, is never receivable against him upon trial for the crime. It is equally well settled, that if the declaration, although under oath, is made in a judicial proceeding, with which the person making it has no immediate connection, and which has no direct relation to the crime for which he is on trial, it is admissible. The only question, upon this particular subject, to wit, the admissibility of declarations made under oath, which is supposed to be debatable, is, whether the declarations of a person subsequently indicted, made under oath previously to his arrest, and at a time when he was in no way judicially charged with the crime, are ever to be excluded. The affirmative of this question is sustained by a series of authorities. The first case to which I will call *Page 36 
attention is that of Rex v. Lewis (6 Carr.  Payne, 161). This was an indictment, founded upon an English statute, for administering poison to one Elizabeth Davies. It appeared that on the day on which the prisoner was committed, she and several others were summoned before a magistrate, and examined on oath touching the poisoning, there being at first no specific charge against any person; but on the conclusion of the examination the prisoner was committed on this charge. Upon the trial the counsel for the prosecution offered the examination taken before the magistrate in evidence, but it was rejected by Baron GURNEY, who, after referring to a case where an affidavit made by the prisoner had been received, said: "But this being a deposition made by the prisoner, at the same time as all the other depositions on which he was committed, and on the very same day, I think it is not receivable." The next is the case of Rex v. Davis (6 Carr. Payne, 177). This was an indictment against father and daughter for receiving stolen goods. Upon the trial, it appeared that the daughter had been a witness before the magistrate; and the counsel for the prosecution proposed to ask what she there said; but the same judge, Baron GURNEY, said: "I think you cannot do that. We cannot hear anything she said before the magistrate when she was a witness. If after having been a witness you make her a prisoner, nothing of what was said then can be admitted as evidence."
Now, these two cases cannot be reconciled with the notion that the admission or rejection of such evidence depends upon the question whether the statement was or was not voluntary, unless by voluntary is meant flowing from a mind free from the disturbing force of great and agitating apprehensions. They have therefore given some trouble to writers upon this branch of the law, who, misled by the use of the term voluntary, cling to the idea that such evidence is rejected, because it is obtained by a species of compulsion, in violation of the rule that no one shall be bound to criminate *Page 37 
himself. (Joy on Confessions, 67, 8.) But these cases are not only based upon the soundest reason and the purest justice, but are abundantly sustained by other authorities. Owen's case (9Carr.  Payne, 238) was an indictment against the prisoners, Owen and two others, for murder; and upon the trial it was proposed, on the part of the prosecution, to give in evidence the deposition of the prisoner on oath, on the coroner's inquest held on the body of the deceased. After very full discussion and citation of authorities, Baron GURNEY, who presided at the trial, excluded the evidence. There can be no just presence that in either of these cases the persons examined were brought before the magistrate or coroner as prisoners charged with the crime. In England, warrants are issued for witnesses in criminal cases, and they are frequently brought before coroners and examining officers in custody. Joy, in speaking of these cases, says: "It may be observed, with respect to these cases, that at the time the depositions were taken the prisoners were not under charge, as prisoners, of any crime. They were brought forward, though in custody, only as witnesses." (Joy on Confessions, 68.) This is clearly the inference from the cases themselves, and there can be no doubt of its truth, provided the parties were in custody at all in the two first cases, which does not expressly appear. The report in Lewis' case states that the prisoner was summoned before the magistrate. But the affirmative of the question we are considering does not rest upon these three cases alone.
In Wheeley's case (8 Carr.  Payne, 250), the prisoner was charged with murder. Upon trial, the counsel for the prosecution offered in evidence a statement made by the prisoner before the coroner at the inquest. This statement purported to have been made on oath. Baron ALDERSON, who presided at the trial, rejected the evidence, saying that he not only could not receive the evidence, but that he could not allow parol evidence to be given to show that the statement was not made under oath. It is true that in Owen's case (9 *Page 38 Carr.  Payne, 83), Godson, one of the counsel, referring to this case of Wheeley, says that Baron ALDERSON rejected the deposition "because it was on oath, and taken while he, Wheeley, was in custody." But it will be seen that Godson was then arguing that the deposition of Owen and his associates should be rejected because they were in custody, and he refers toWheeley's case as a parallel case; this shows that Wheeley was in custody, not as the accused party, but as a witness only, precisely as were Owen and his associates. Besides, Baron ALDERSON himself takes no notice of the fact that Wheeley was in custody, and makes that no part of the ground of his decision. It is clear, therefore, that this case is to be added to the three previously cited, as involving the same principle. There is an additional English case cited in a note to Haworth's case (4Carr.  Payne, 254). The note states that "in a case tried at Worcester, where it appeared that a coroner's inquest had been held on the body, and it not being suspected that B was at all concerned in the murder of A, the coroner had examined B upon oath as a witness. PARK, J., would not allow the deposition of B, so taken on oath at the coroner's inquest, to be read in evidence on the trial of an indictment afterwards found against B for the same murder." These five constitute the series of English cases going to sustain the affirmative of the question proposed. It is to be observed, however, that the last of these cases goes further than is necessary to sustain the objection taken to the evidence in this case, because it is expressly stated that the prisoner, at the time of his examination before the coroner, was not suspected of being at all concerned in the murder.
I will refer to a single American case only, to wit,Broughton's case (7 Iredell, 98). In that case, although the testimony of the prisoner, given before the grand jury upon an inquiry into the circumstances of the murder, was admitted upon special grounds, yet Ch. J. RUFFIN, in giving the opinion *Page 39 
of the court, says that "Lewis' case (6 Carr.  Payne, 161) was properly decided."
I come now to the consideration of a class of cases which have been supposed to conflict with those previously cited, but which are, in truth, in perfect accordance with them. The first to which I deem it necessary to refer is Merceron's case (2Stark., 366). That was an indictment against the defendant for misconduct as a magistrate. Upon the trial it was proposed to prove, on the part of the prosecution, what had been said by the defendant in the course of his examination before a committee of the House of Commons, appointed for the purpose of inquiring into the police of the metropolis. The defendant had been compelled to appear before a committee. It was objected, by the defendant, that the examination having been made under compulsory process from the House of Commons, it was not voluntary, and therefore was not admissible. Justice ABBOTT admitted the evidence. It seems that this same justice afterwards, when Lord TENTERDEN, inRex v. Gilham (1 Mood. C.C., 203), on Merceron's case
being cited, said: "I think there must be some mistake in that case; the evidence must have been given without oath and before a committee of inquiry, where the witness would not be bound to answer." This remark shows that the learned judge was laboring, at the moment, under the delusive impression which the indiscriminate use of the word voluntary, to test the admissibility of evidence in such cases, has tended to produce.
The next is Haworth's case (4 Carr.  Payne, 254). This was an indictment for forgery. On the trial the counsel for the prosecution called the clerk of the magistrate by whom the defendant had been examined, who stated that. "before the prisoner was either charged or suspected of having committed any offence," he was called as a witness against one Shearer, who was tried for forgery, and swore to a deposition. The deposition was offered in *Page 40 
evidence and objected to, but admitted by Mr. Justice PARKE. Why was it stated, in the report of this case, that the deposition was made not only before the prisoner was charged with, but before he was suspected of guilt? The idea which prompted this statement could have been no other than that for which I contend, that if he had testified under the mental agitation which would be produced by the apprehension of an immediate prosecution for crime, his statement could not be received. But this idea is more distinctly brought out in the next, to wit, Tubby's case (5Carr.  Payne, 530). It was a trial for burglary. The counsel for the prosecution proposed to read a statement made upon oath by the prisoner at a time when he was under no suspicion. The evidence was objected to, but VAUGHAN, B., said: "I do not see any objection to its being read, as no suspicion attached to the party at the time. The question is: Is it the statement of the prisoner on oath? Clearly not; for he was not a prisoner at the time when he made it." Now, although the learned judge puts his decision, in part, upon the ground that the party was not in custody when he made the statement, yet the first reason he gives is, that no suspicion then attached to him. These cases, so far from conflicting with the cases of Lewis, Davis and Owen,
tend, in my view, strongly to confirm them, from the countenance they give to the principle upon which those three cases rest; which is, that declarations made when the mind of the party making them is disturbed by the apprehension of a prosecution for crime and under the constraint of an oath upon a judicial inquiry as to the crime, are not evidence against the party upon a subsequent trial for the same crime. There are, besides these, two cases, to wit, Owen's case (9 Carr.  Payne, 83) andSandys' case (1 Carr.  Marsh., 345), in which the deposition of the prisoner, on trial for murder, taken upon the inquisition before the coroner and when the prisoner had not been charged with the crime, was received in evidence upon the trial; but in *Page 41 
both cases the question was reserved for the opinion of the fifteen judges, and the prisoner having been acquitted in each case, the question was never passed upon. Independently of the case of Wheater, therefore (2 Mood. C.C., 45), there is no authority which conflicts with the cases which I have cited as going to sustain the objection taken in this case. As the case ofWheater was brought before the fifteen judges, and as this is the case which has been treated as most in conflict with those ofLewis, Davis, c., it deserves some consideration.
It was a trial for the forgery of an acceptance to a bill of exchange. The bill had passed through the hands of the prisoner's father, who had subsequently become bankrupt; and the prisoner was examined as a witness touching the bill in question, among others, before the commissioners in bankruptcy. He was attended by counsel, and informed that he was at liberty to decline answering any question. Previous to his examination before the commissioners he had been brought before the lord mayor and charged with the forgery, but had been discharged for want of sufficient evidence to warrant his commitment. His examination before the commissioners, which was upon oath, was offered in evidence against him, on the trial, and objected to but received. The prisoner was convicted; and upon the question being brought before the judges the conviction was sustained.
This is undoubtedly the strongest case to be found in favor of the reception of the sworn statements of a prisoner in evidence against him upon his trial for crime; but there are several things to be remarked concerning it. In the first place, the statement offered in evidence was not made upon any judicial examination or inquiry respecting the crime for which the prisoner was on trial. This is a marked feature, which distinguishes this case from every one of the five cases above cited, in which the statement on oath of the prisoner was rejected, as well as from the one at *Page 42 
bar. The case of Wheater was evidently considered as falling within the settled rule that the previous declarations of a prisoner, although under oath, if made in a proceeding foreign to the crime with which he is charged, are competent evidence against him on the trial. The doubt in this case was really raised by the two circumstances that the inquiry before the commissioners related in part to the same bill alleged to have been forged, and that the prisoner, when examined, was obviously resting under strong suspicion of the forgery. This, however, was not thought sufficient to take the case out of the ordinary rule. That this was the view taken of the case, is evident from the remarks made by several of the judges upon the argument. Baron PARKE, addressing the counsel for the prisoner, says: "Here the commissioners had a right to examine the prisoner. Do you mean to say that if a person, on a trial between parties, choose to make certain answers, they may not be used afterwards against him?" And LITTLEDALE, J., says: "Suppose, in answer to a bill in equity, a party state facts which afterwards are found to chime in with other facts, are they not admissible in evidence against him?" The distinction between the class of cases to which the case of Wheater was treated by the judges as belonging, and to which it evidently did belong, and those where the evidence offered was obtained under the constraint of an oath, administered upon a judicial inquiry in regard to the very crime for which the prisoner is on trial, is obvious and runs through all the cases. The reason for the distinction between the examination of a party upon a direct inquiry as to the crime with which he is afterwards charged, and his testimony in another case, is well stated by Mr. Greenleaf, in his work on evidence (1Greenl. Ev., § 226). After stating the decision in Rex v.Lewis, before cited, he says: "This case may seem, at the first view, to be at variance with what has just been stated as the general principle in regard to testimony given in another case: but the difference lies in the different natures *Page 43 
of the two proceedings. In the former case the mind of the witness is not disturbed by a criminal charge, and moreover he is generally aided and protected by the presence of the counsel in the cause; but in the latter case, being a prisoner, subjected to an inquisitorial examination and himself at least in danger of an accusation, his mind is brought under the influence of those disturbing forces against which it is the policy of the law to protect him." Mr. Greenleaf makes no use of the word voluntary
in illustrating this distinction.
To review for a moment our ground: It will be seen that there are three distinct classes of cases in which, upon the trial of persons for crime, their previous statements upon oath may be offered in evidence against them, viz: 1. When the oath was administered, not upon any direct investigation as to the crime itself, but in some other suit or proceeding; 2. When it was administered by a magistrate engaged in a preliminary examination as to the crime; and 3. Where it was taken before a coroner's jury. We shall be able to form a clear idea of the state of the authorities on the subject, by arranging them according to this classification. Of the cases cited, Merceron's case andWheater's case belong to the first class, and in both of these cases the evidence was received. Lewis' case, Davis' case andHaworth's case belong to the second class. In the first two the proof offered was rejected, and in the last it was received, it being expressly stated in the case that the statement was made "before the prisoner was either charged or suspected of any crime." The other cases, viz., Owen's two cases, Wheeley'scase, Sandys' case, and the anonymous case stated in the note toHaworth's case, all belong to the third class. In three of these the evidence was rejected; in the other two, to wit,Owen's first case and Sandys' case, although it was received, the question was expressly reserved for the opinion of the fifteen judges, and never afterwards passed upon. The case ofBroughton is sui generis, and has but little bearing upon the question, because it is put upon a distinct and peculiar ground, while *Page 44 
it expressly recognizes the accuracy of the decision in Lewis'case. This classification discloses the striking fact that there has, so far as appears, never yet been a single reported decision in favor of the admissibility under any circumstances, upon a trial for murder, of the examination of the prisoner before a coroner's jury. The two cases in which it was received, reserving the question, have not the weight of decisions even at the assizes, because that is the only mode in which the opinion of the court in banco in England can be obtained. So far as authority goes, therefore, there are three decisions at the English assizes against and not one anywhere in favor of its admissibility. There is just reason for grouping examinations before a coroner's jury in a distinct class. The nature of the crime, the time of holding such inquisitions, immediately upon the death, the public excitement, and the circumstances usually attendant, are peculiarly calculated to produce that serious disturbance of the faculties, against which, in the language of Greenleaf, "it is the policy of the law to protect men." It ought not, therefore, to be matter of surprise that there is no decision in favor of the admissibility of such examinations in any case, even where it appears, as it did in the anonymous case decided by PARK, J., that no suspicion attached to the party when the examination was taken. I hold the decision in that case and the one in Wheeley's case to be right. But whether they can be sustained or not, there can, I think, be no doubt of the propriety of excluding the evidence, where the party, when testifying before the coroner's jury, is conscious that suspicion is resting upon him. It would be inadmissible under such circumstances, even when taken before the examining magistrate. This has been held in every case upon the subject. Haworth'scase is no exception. A fortiori, then, it should be excluded when taken upon an inquest by the coroner. It is only necessary to look at the question put to Hendrickson, upon his examination, to see that he must have been fully aware that he was suspected. *Page 45 
The repetition of the question as to the time when he was last in Albany, and the questions as to his having visited the drug store, could not fail to have suggested to his mind the fact that suspicion was directed to him. In view, therefore, of the reasoning and authorities here presented, I have no hesitation in coming to the conclusion that the admission, upon the trial of this case, of the statements of the prisoner, made on oath before the coroner's jury, was erroneous, and that a new trial should be granted for that reason.
Although this conclusion is decisive of the case, it may be expedient to express briefly an opinion as to the admissibility of the will of Lawrence Van Deusen as evidence to the jury. I have been unable to take any view of the case which would show this will to be relevant and pertinent evidence. Its relation to the issue, if any, is so remote, and its bearing so uncertain, that I cannot perceive that it could furnish a safe foundation for any inference whatever. In a criminal, and especially a capital case, too much care can hardly be taken to guard the minds of the jury from the influence of testimony which can have the slightest tendency to mislead. As the testimony concerning the will was received by the judge, under objection, the jury would naturally seek to make some use of it, and to draw from it some inference bearing upon the issue to be determined.
I am therefore decidedly of opinion that this evidence was improperly received, and that for this reason also a new trial should be granted.